Case 3:23-cv-01886-ZNQ-JBD Document 9-1 Filed 04/21/23 Page 1 of 26 PageID: 151




 Kegan A. Brown (NJ Bar No. 015482007)
 LATHAM & WATKINS LLP
 1271 Avenue of the Americas
 New York, NY 10020
 Tel.: (212) 906-1200
 Email: kegan.brown@lw.com

 Counsel for Proposed Intervenor-Defendant
 Orsted North America Inc.


                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW JERSEY


  SAVE LONG BEACH ISLAND and ROBERT                    Case No.: 3:23-cv-01886-ZNQ-JBD
  STERN,
                                                       Judge Zahid N. Quraishi
               Plaintiffs,                             Magistrate Judge J. Brendan Day

        v.                                             MEMORANDUM OF LAW
                                                       IN SUPPORT OF PROPOSED
  U.S. DEPARTMENT OF COMMERCE; GINA                    INTERVENOR-DEFENDANT’S
  RAIMONDO, in her official capacity as Secretary of   MOTION TO INTERVENE AND TO
  Commerce; NATIONAL MARINE FISHERIES                  DEFER FILING ANSWER
  SERVICE; and JANET COIT, in her official capacity
  as Director, National Marine Fisheries Service,      Motion Return Day: May 15, 2023

               Defendants.
Case 3:23-cv-01886-ZNQ-JBD Document 9-1 Filed 04/21/23 Page 2 of 26 PageID: 152




                                               TABLE OF CONTENTS

                                                                                                                                 Page

 I.     INTRODUCTION ...............................................................................................................1

 II.    BACKGROUND .................................................................................................................4

        A.        Ørsted’s Involvement in Multi-Year Federal and State Consultation and
                  Approval Processes ..................................................................................................5

 III.   ARGUMENT .......................................................................................................................8

        A.        Ørsted Is Entitled to Intervention as of Right ..........................................................8

                  1.         Ørsted’s Motion Is Timely ...........................................................................9

                  2.         Ørsted Has Multiple Significantly Protectable and Substantial
                             Interests in the ITAs that Are the Subject of This Action..........................10

                  3.         Without Intervention, Disposition of the Action Would Impair and
                             Impede Ørsted’s Ability to Protect Its Interests .........................................13

                  4.         Existing Parties Will Not Adequately Represent Ørsted’s Interests ..........15

        B.        In the Alternative, the Court Should Grant Permissive Intervention .....................17

        C.        Ørsted Should Be Permitted to File Its Answer by the Same Deadline as
                  Federal Defendants ................................................................................................18

 IV.    CONCLUSION ..................................................................................................................19




                                                                  i
Case 3:23-cv-01886-ZNQ-JBD Document 9-1 Filed 04/21/23 Page 3 of 26 PageID: 153




                                                TABLE OF AUTHORITIES

                                                                                                                               Page(s)

                                                                CASES

 ACR Energy Partners, LLC v. Polo N. Country Club, Inc.,
   309 F.R.D. 191 (D.N.J. 2015) ....................................................................................................9

 Allco Renewable Energy Ltd. v. Haaland,
     No. 1:22-cv-10921-IT (D. Mass. June 13, 2022), ECF No. 121 ...............................................3

 Am. Farm Bureau Fed’n v. EPA,
    278 F.R.D. 98 (M.D. Pa. 2011) ........................................................................................ passim

 Am. Horse Prot. Ass’n, Inc. v. Veneman,
    200 F.R.D. 153 (D.D.C. 2001) .................................................................................................15

 Am. Soybean Ass’n v. EPA,
    No. 1:20-cv-03190 (D.D.C. Nov. 13, 2020) ............................................................................19

 Chester Water Auth. v. Susquehanna River Basin Comm’n,
    No. 1:14-CV-1076, 2014 WL 3908186 (M.D. Pa. Aug. 11, 2014) ................................. passim

 Conforti v. Hanlon,
    No. CV 20-8267 (ZNQ), 2023 WL 2744020 (D.N.J. Mar. 31, 2023) .....................................18

 Delaware Riverkeeper Network v. U.S. Army Corps of Eng’rs,
    Civ. A. No. 09-5889 (JAP), 2010 WL 11566064 (D.N.J. Jan. 21, 2010) ..................................9

 Donaldson v. United States,
    400 U.S. 517 (1971) .................................................................................................................10

 United States ex rel. Frank M. Sheesley Co. v. St. Paul Fire & Marine Ins. Co.,
    239 F.R.D. 404 (W.D. Pa. 2006) .............................................................................................18

 Fund for Animals, Inc. v. Norton,
    322 F.3d 728 (D.C. Cir. 2003) .................................................................................................16

 Hardin v. Jackson,
    600 F. Supp. 2d 13 (D.D.C. 2009) .....................................................................................11, 16

 Kinsella v. BOEM,
    No. 1:22-cv-02147-JMC (D.D.C. Nov. 7, 2022) ............................................................. passim

 Michaels Stores, Inc. v. Castle Ridge Plaza Assocs.,
    6 F. Supp. 2d 360 (D.N.J. 1998) ..............................................................................................10




                                                                     ii
Case 3:23-cv-01886-ZNQ-JBD Document 9-1 Filed 04/21/23 Page 4 of 26 PageID: 154




 Mountain Top Condo. Ass’n v. Dave Stabbert Master Builder, Inc.,
   72 F.3d 361 (3d Cir. 1995).................................................................................................10, 13

 N.L.R.B. v. Frazier,
    144 F.R.D. 650 (D.N.J. 1992) ....................................................................................................9

 Nat. Res. Def. Council v. EPA,
    99 F.R.D. 607 (D.D.C. 1983) ...................................................................................................14

 Pennsylvania v. President United States of Am.,
    888 F.3d 52 (3d Cir. 2018).............................................................................................9, 10, 15

 Pereira v. Foot Locker, Inc.,
    No. 07-CV-2157, 2009 WL 4673865 (E.D. Pa. Dec. 7, 2009) ................................................18

 Phila. Recycling & Transfer Station, Inc. v. City of Philadelphia,
    No. 95-4597, 1995 WL 517644 (E.D. Pa. Aug. 29, 1995) ......................................................18

 PPL Energyplus, LLC v. Solomon,
    Civ. A. No. 11-745 (PGS), 2011 WL 13128622 (D.N.J. July 19, 2011) .................9, 16, 18, 19

 Sierra Club v. E.P.A.,
     995 F.2d 1478 (9th Cir. 1993), abrogated by Wilderness Soc’y v. U.S. Forest Serv., 630 F.3d
     1173 (9th Cir. 2011).................................................................................................................11

 Trbovich v. United Mine Workers of Am.,
    404 U.S. 528 (1972) .................................................................................................................15

                                                                 STATUTES

 5 U.S.C.
    § 551 et seq. ...............................................................................................................................1
    § 704...........................................................................................................................................8

 16 U.S.C.
    § 1361 et seq. .............................................................................................................................1
    § 1362(13) ..................................................................................................................................5
    § 1362(18) ..................................................................................................................................5
    § 1371(a)(5)(A) ..........................................................................................................................5
    § 1371(a)(5)(D) ..........................................................................................................................5

 42 U.S.C. § 4321 et seq....................................................................................................................1

 2022 Mass. Acts Chapter 179, § 61b,
    https://malegislature.gov/Laws/SessionLaws/Acts/2022/Chapter179 .......................................5

 N.J. Exec. Order No. 307, § 2 (2022),
     https://nj.gov/infobank/eo/056murphy/pdf/EO-307.pdf ............................................................5


                                                                         iii
Case 3:23-cv-01886-ZNQ-JBD Document 9-1 Filed 04/21/23 Page 5 of 26 PageID: 155




 New York State Climate Leadership and Community Protection Act of 2019, §§ 1(12)(d) & 4,
   S.B. 6599, 2019-2020 Reg. Sess. (N.Y. 2019),
   https://legislation.nysenate.gov/pdf/bills/2019/S6599 ...............................................................5

 S. 2036, 214th Leg. 2010-2011 Sess. (N.J. 2010),
     https://pub.njleg.state.nj.us/Bills/2010/S2500/2036_R2.PDF; ..................................................5

                                                                    RULES

 Fed. R. Civ. P. 12 ...........................................................................................................................19

 Fed. R. Civ. P. 24(a)(2) .......................................................................................................... passim

 Fed. R. Civ. P. 24(b)(3)..................................................................................................................17

 Fed. R. Civ. P. 24(c) ............................................................................................................4, 18, 19

 L.R. 7.1(f)(1) ....................................................................................................................................4

                                                            REGULATIONS

 50 C.F.R.
    § 216.3........................................................................................................................................5
    § 216.104....................................................................................................................................5
    § 216.105....................................................................................................................................5
    § 216.106....................................................................................................................................5
    § 216.107(e) ...............................................................................................................................5

                                                      OTHER AUTHORITIES

 FACT SHEET: Biden Administration Jumpstarts Offshore Wind Energy Projects to Create Jobs,
   The White House (Mar. 29, 2021), https://www.whitehouse.gov/briefing-room/statements-
   releases/2021/03/29/fact-sheet-biden-administration-jumpstarts-offshore-wind-energy-
   projects-to-create-jobs/ ..............................................................................................................4

 https://oceanwindone.com/about-the-project ...................................................................................4

 https://oceanwindtwo.com/ ..............................................................................................................4

 https://revolution-wind.com/about-revolution-wind ........................................................................4

 https://skipjackwind.com/about-skipjack-wind ...............................................................................4

 https://southforkwind.com/about-south-fork-wind ..........................................................................4

 https://sunrisewindny.com/about-sunrise-wind); .............................................................................4

 https://www.fisheries.noaa.gov/national/marine-mammal-protection/incidental-harassment-
     authorization-renewals ...............................................................................................................5


                                                                         iv
Case 3:23-cv-01886-ZNQ-JBD Document 9-1 Filed 04/21/23 Page 6 of 26 PageID: 156




 U.S. Dep’t of Energy, Advancing Offshore Wind Energy in the United States 1, 9 (Mar. 2023),
    https://www.energy.gov/sites/default/files/2023-03/advancing-offshore-wind-energy-full-
    report.pdf
    ....................................................................................................................................................5




                                                                            v
Case 3:23-cv-01886-ZNQ-JBD Document 9-1 Filed 04/21/23 Page 7 of 26 PageID: 157




 I.     INTRODUCTION

        Orsted North America Inc. (“Ørsted”) is an owner and developer of the South Fork Wind,

 Ocean Wind I, Ocean Wind II, Sunrise Wind, Revolution Wind, Skipjack Wind, and Lease 0500

 projects (collectively, the “Projects”), among the first commercial-scale offshore wind projects

 that will deliver clean, reliable power to the eastern United States. Save Long Beach Island and

 Robert Stern (together, “Plaintiffs”) seek declaratory and injunctive relief against the U.S.

 Department of Commerce and the National Marine Fisheries Service (“NMFS”) (together, the

 “Federal Defendants”) under the Marine Mammal Protection Act (“MMPA”), 16 U.S.C. § 1361

 et seq., the National Environmental Policy Act (“NEPA”), 42 U.S.C. § 4321 et seq., and the

 Administrative Procedure Act, 5 U.S.C. § 551 et seq.

        Specifically, with respect to the Ørsted Projects, Plaintiffs challenge five incidental

 harassment authorizations (“IHAs”) issued to the Projects and two pending NMFS incidental take

 rulemakings (“ITRs”) and Letters of Authorization (“LOAs”) that have not yet been issued

 (collectively, “incidental take authorizations” or “ITAs”). See “Complaint For Declaratory and

 Injunctive Relief Under the Marine Mammal Protection Act, National Environmental Policy Act

 and Administrative Procedures Act” (ECF No. 1) (the “Complaint”) ¶¶ 29, 31-33, 39, Ex. A at 7-

 9; see infra Section II.A (Table 1). Plaintiffs allege that the Projects’ approvals violate federal law

 and ask this Court to: (i) set aside the active ITAs; (ii) enjoin NMFS from issuing pending ITAs;

 (iii) direct NMFS to “halt consideration” of ITAs relating to offshore wind projects in federal

 waters off of New Jersey and New York; (iv) direct NMFS to create an “advisory board” to

 investigate whale deaths and, pending the board’s findings, submit a “revised vessel survey

 program” to the Court; and (v) direct NMFS to prepare an environmental impact statement

 “assessing the cumulative impacts of the ITAs” under NEPA, among other relief. See Compl. at




                                                   1
Case 3:23-cv-01886-ZNQ-JBD Document 9-1 Filed 04/21/23 Page 8 of 26 PageID: 158




 60-61.

          Ørsted has direct, substantial, and legally protectable interests in the challenged Project

 ITAs, and seeks to intervene in this action as a matter of right pursuant to Federal Rule of Civil

 Procedure 24(a)(2) to defend its interests. Alternatively, Ørsted seeks permissive intervention

 under Rule 24(b)(1)(B).      Plaintiffs do not oppose Ørsted’s motion to intervene.          Federal

 Defendants take no position on Ørsted’s motion to intervene.

          Ørsted readily meets the test for intervention as of right under the Federal Rules of Civil

 Procedure. First, Ørsted’s intervention is timely and would not prejudice any of the existing

 parties, given that Ørsted has moved to intervene less than three weeks after Plaintiffs filed their

 Complaint challenging the federal approvals, and eight days after the federal government was

 served. Ørsted is prepared to follow any schedule ordered by this Court.

          Second, Ørsted has multiple direct, substantial, and legally protectable interests in the

 challenged ITAs, which are the subject of this action.           Ørsted has conducted extensive

 environmental and engineering work and sought, consulted on, and received dozens of permits and

 approvals from federal, state, and local authorities to develop the Projects—including the ITAs

 directly at issue in this case. See infra Section II.A. As an owner of each of the Projects holding

 the ITAs, Ørsted has specific interests in retaining these federal approvals and relying on their

 terms and conditions, in order to complete the Projects that it has spent over a decade developing.

 The ITAs are critically necessary approvals for the Projects, authorize key site characterization

 surveys and construction activities, and contain numerous conditions, mitigation measures, and

 monitoring and reporting requirements protective of marine mammals.

          Third, Plaintiffs’ requested relief threatens to directly impair Ørsted’s interests, as the

 possibility that the Court could alter, delay, or set aside the federal approvals would likely result




                                                   2
Case 3:23-cv-01886-ZNQ-JBD Document 9-1 Filed 04/21/23 Page 9 of 26 PageID: 159




 in significant delays in the Projects’ construction and operation, millions of dollars in costs and

 potentially termination of existing power purchase agreements (“PPAs”) and other revenue

 awards, and a total loss of investment. If Plaintiffs succeed in vacating or delaying the ITAs,

 Ørsted and its partners could suffer significant financial losses. See infra Section III.A.3.

         Fourth, Ørsted’s participation in this case is necessary because its specific interests are

 distinct from those of the Federal Defendants and are not adequately represented in this litigation.

 Ørsted and its partners have invested the equivalent of decades of effort collectively and billions

 of dollars to date in the Projects, including in contractual obligations relating to their construction.

 In contrast to Federal Defendants, Ørsted is the only party that can speak with authority to the

 significant disruption that Plaintiffs’ requested relief would cause to the Projects’ construction

 schedules and the substantial harm to Ørsted’s contractual and other interests in the Projects that

 are contingent on the ITAs. No other party is capable of adequately representing Ørsted’s

 significant interests in the subject of this action, and Ørsted is in a unique position to aid the Court’s

 understanding of the issues in this case.

         In the alternative, Ørsted should be granted permissive intervention. Ørsted’s defense of

 the ITAs will turn on common facts and legal principles with the main action. As noted above, no

 existing party will be prejudiced by Ørsted’s intervention, and Ørsted is uniquely positioned to

 provide relevant information on the ITAs to the Court and to address Plaintiffs’ arguments.

         Ørsted has been granted intervention in every other federal district court case challenging

 approvals for the Projects. See Order, Mahoney v. U.S. Dep’t of the Interior, No. 2:22-cv-01305-

 FB-ST, (E.D.N.Y. Mar. 14, 2022), ECF No. 16 (granting motion to intervene); Allco Renewable

 Energy Ltd. v. Haaland, No. 1:22-cv-10921-IT, (D. Mass. June 13, 2022), ECF No. 121 (same);




                                                     3
Case 3:23-cv-01886-ZNQ-JBD Document 9-1 Filed 04/21/23 Page 10 of 26 PageID: 160




 Kinsella v. BOEM, No. 1:22-cv-02147-JMC, (D.D.C. Nov. 7, 2022), ECF No. 43 (same).1 This

 Court should likewise grant Ørsted’s Motion to Intervene in this action.

        If the Court grants Ørsted’s Motion to Intervene, Ørsted respectfully requests that the Court

 permit it to file its Answer or other responsive pleading pursuant to Federal Rule of Civil Procedure

 24(c) and Local Civil Rule 7.1(f)(1) by the same deadline as Federal Defendants in this case,

 currently due on June 12, 2023, or three days after intervention is granted, whichever is later. See

 Kinsella, No. 1:22-cv-02147-JMC, ECF No. 43; see infra Section III.C.

 II.    BACKGROUND

        Collectively, the Projects involve the planning, construction, and operation of seven

 commercial-scale wind energy facilities with a total capacity of nearly five gigawatts (“GW”).

 Declaration of Elizabeth Gowell (“Gowell Decl.”) ¶ 1. The Projects’ wind turbine generators and

 associated facilities will be installed on the Outer Continental Shelf (“OCS”) in federal waters in

 the Atlantic Ocean offshore the Mid-Atlantic and Northeastern seaboard. Id.

        Each of the Projects is a key component of both the federal government’s and multiple

 states’2 laws and policies to fight climate change. The federal government has set a goal of 30

 GW of offshore wind by 2030.3 This goal will help the federal government meet its target to



 1
   In Mahoney, Allco, and Kinsella, each of which challenged the South Fork Wind Project,
 intervention was granted to Ørsted’s subsidiary, South Fork Wind, LLC.
 2
  The Projects will provide renewable energy to the electric grid in multiple states, including:
 New Jersey (Ocean Wind I, https://oceanwindone.com/about-the-project, and Ocean Wind II,
 https://oceanwindtwo.com/); New York (South Fork Wind, https://southforkwind.com/about-
 south-fork-wind, and Sunrise Wind, https://sunrisewindny.com/about-sunrise-wind); Connecticut
 and Rhode Island (Revolution Wind, https://revolution-wind.com/about-revolution-wind);
 Massachusetts (Lease 0500); and Delaware, Maryland, and Virginia (Skipjack Wind,
 https://skipjackwind.com/about-skipjack-wind).
 3
   See FACT SHEET: Biden Administration Jumpstarts Offshore Wind Energy Projects to Create
 Jobs, The White House (Mar. 29, 2021), https://www.whitehouse.gov/briefing-room/statements-
 releases/2021/03/29/fact-sheet-biden-administration-jumpstarts-offshore-wind-energy-projects-


                                                  4
Case 3:23-cv-01886-ZNQ-JBD Document 9-1 Filed 04/21/23 Page 11 of 26 PageID: 161




 achieve 100% clean electricity by 2035.4 Similarly, New Jersey’s climate goals further require, as

 a means to achieving its own target of 100% zero-emission electricity by 2035, the development

 of 11 GW of offshore wind by 2040.5 Taken together, the Projects represent a major step forward

 in achieving these goals.

        A.      Ørsted’s Involvement in Multi-Year Federal and State Consultation and
                Approval Processes

        Plaintiffs challenge several ITAs6 in this action, which collectively implicate all of the



 to-create-jobs/.
 4
   See U.S. Dep’t of Energy, Advancing Offshore Wind Energy in the United States 1, 9 (Mar.
 2023), https://www.energy.gov/sites/default/files/2023-03/advancing-offshore-wind-energy-full-
 report.pdf (“offshore wind can be a key contributor in many U.S. energy markets to achieving a
 zero-carbon electricity grid by 2035 and a net-zero emissions economy by 2050.”).
 5
   New Jersey Offshore Wind Economic Development Act of 2010, S. 2036, 214th Leg. 2010-
 2011 Sess. (N.J. 2010), https://pub.njleg.state.nj.us/Bills/2010/S2500/2036_R2.PDF; N.J. Exec.
 Order No. 307, § 2 (2022), https://nj.gov/infobank/eo/056murphy/pdf/EO-307.pdf. By way of
 further example, New York State’s climate goals further require, as a means to achieving its own
 target of 100% zero-emission electricity by 2040, the development of nine GW of offshore wind
 by 2035. New York State Climate Leadership and Community Protection Act of 2019, §§
 1(12)(d) & 4, S.B. 6599, 2019-2020 Reg. Sess. (N.Y. 2019),
 https://legislation.nysenate.gov/pdf/bills/2019/S6599. In 2022, Massachusetts enacted legislation
 bringing the state’s total offshore wind development target to 5.6 GW by 2027. 2022 Mass. Acts
 Ch. 179, § 61b, https://malegislature.gov/Laws/SessionLaws/Acts/2022/Chapter179.
 6
   As noted above, ITAs is an umbrella term that may refer to an IHA or an LOA for the “take” of
 marine mammals under the MMPA. See 16 U.S.C. § 1362(13) (“the term ‘take’ means to harass,
 hunt, capture, or kill, or attempt to harass, hunt, capture, or kill any marine mammal”). NMFS
 issues IHAs, which are effective for up to 1 year, for actions resulting in take by harassment only
 to marine mammals. 16 U.S.C. §§ 1362(18), 1371(a)(5)(D); 50 C.F.R. §§ 216.3, 216.104. IHAs
 may be renewed under certain circumstances not to exceed one year for each reauthorization. 50
 C.F.R. § 216.107(e). NMFS directs permittees to submit IHA renewal requests at least 60 days
 prior to the requested renewal date. See https://www.fisheries.noaa.gov/national/marine-mammal-
 protection/incidental-harassment-authorization-renewals. NMFS issues notices of renewal
 requests and provides a 15-day public comment period. See id. NMFS issues LOAs, which are
 effective for up to 5 years, for actions that may result in harassment only over multiple years, or
 for actions that may result in serious injury or mortality to marine mammals. 16 U.S.C. §
 1371(a)(5)(A); 50 C.F.R. §§ 216.3, 216.105. To issue LOAs, NMFS must first issue specific
 regulations, known as ITRs. 16 U.S.C. § 1371(a)(5)(A); 50 C.F.R. § 216.106. For purposes of
 this Motion, Ørsted generally refers to the existing and pending federal approvals that Plaintiffs
 challenge in the Complaint as ITAs and refers to specific IHAs or LOAs where appropriate.


                                                 5
Case 3:23-cv-01886-ZNQ-JBD Document 9-1 Filed 04/21/23 Page 12 of 26 PageID: 162




 Projects, as shown in the following table:

                    Table 1: Challenged Approvals and Projects Implicated

                          Challenged Approval                                Project Implicated
                                      Issued/Active IHAs
  Incidental Harassment Authorization issued to South Fork Wind,
  LLC on December 21, 2021
                                                                               South Fork Wind
  Effective: November 15, 2022 through November 14, 2023

  Incidental Harassment Authorization issued to Orsted Wind Power
  North America, LLC on May 6, 2022
                                                                                Skipjack Wind
  Effective: May 10, 2022 through May 9, 2023

  Incidental Harassment Authorization issued to Ocean Wind, LLC on
  May 9, 2022
                                                                                Ocean Wind I
  Effective: May 10, 2022 through May 9, 2023

  Incidental Harassment Authorization issued to Ocean Wind II, LLC
  on May 9, 2022
                                                                                Ocean Wind II
  Effective: May 10, 2022 through May 9, 2023

  Incidental Harassment Authorization issued to Orsted Wind Power
                                                                                Sunrise Wind
  North America, LLC on October 6, 2022
                                                                               Revolution Wind
  Effective: October 6, 2022 through October 5, 2023
                                                                                 Lease 0500
                                     Pending ITRs/LOAs
  Incidental Take Regulations and associated Letter of Authorization
  requested by Sunrise Wind LLC on November 10, 2021 (pending)                   Sunrise Wind

  Incidental Take Regulations and associated Letter of Authorization
  requested by Ocean Wind LLC on October 1, 2021 (pending)                      Ocean Wind I


 See Gowell Decl. ¶ 1.

        Ørsted and its partners have invested significant resources in the extensive, multi-year

 planning and development processes for each of the Projects, and have engaged with multiple

 federal, state, and local agencies to obtain the requisite approvals for the Projects, including the

 challenged federal approvals for survey and construction activities on the OCS. Gowell Decl. ¶

 13. Ørsted has developed voluminous technical and scientific submissions to federal, state, and


                                                  6
Case 3:23-cv-01886-ZNQ-JBD Document 9-1 Filed 04/21/23 Page 13 of 26 PageID: 163




 municipal agencies and participated in public consultation and review processes for the Projects.

 Id. For example, for South Fork Wind, this included an over 8-year process before the Bureau of

 Ocean Energy Management (“BOEM”) and other federal and state agencies to secure regulatory

 approvals. Id. ¶¶ 9-23. South Fork Wind and its partners conducted extensive surveys of the

 Project area to understand and characterize the environment around the Project site, including

 meteorological, bathymetric, geological, geotechnical, geophysical, biological, archaeological,

 hazard, and oceanographic surveys. Id. ¶ 15. BOEM then conducted an extensive environmental

 review, including developing an environmental impact statement under NEPA, and approved

 South Fork Wind’s Construction and Operation Plan on January 18, 2022.             Id. ¶¶ 17-18.

 Construction has been ongoing for over a year. Id. ¶ 24.

        In March 2019, South Fork Wind submitted an application to NMFS for an IHA to take

 marine mammals incidental to construction of the Project. Id. ¶ 20. After several amendments,

 NMFS deemed the application adequate and complete on December 16, 2020, and published notice

 of the proposed IHA in the Federal Register on February 5, 2021. Id. As part of its application,

 South Fork Wind submitted both a 154-page Animal Exposure Modeling report prepared by

 JASCO Applied Sciences and a 129-page JASCO report on Underwater Acoustic Modeling of

 Construction Noise. Id. ¶ 21. NMFS accepted public comments on the proposed IHA through

 March 10, 2021. Id. ¶ 22. Neither Plaintiff submitted comments on the proposed IHA. Id. NMFS

 issued the IHA to South Fork Wind on December 21, 2021. Id. ¶ 23.

        The IHA is valid through November 14, 2023 and governs impact and vibratory pile-

 driving activities, high-resolution geophysical (“HRG”) surveys, and in-water construction

 activities and vessel operations. Id. The IHA contains over 27 pages of conditions, mitigation

 measures, and monitoring and reporting requirements, including specific mitigation measures for




                                                7
Case 3:23-cv-01886-ZNQ-JBD Document 9-1 Filed 04/21/23 Page 14 of 26 PageID: 164




 (1) impact pile driving of foundation monopiles, (2) pile driving at the horizontal directional

 drilling site, (3) construction surveys using specified HRG acoustic sources, and (4) vessel strike

 avoidance. Id. The IHA also mandates specific forms of monitoring, including sound field

 verification, passive acoustic monitoring, and Level A Harassment and Level B Harassment Zone

 verification for impact pile driving of wind turbine generator foundations. Id. The South Fork

 Construction IHA is needed to construct the wind turbines for the Project. See id. ¶¶ 23-24.

        With respect to the active IHAs that NMFS has already issued to the Projects, Ørsted has

 undertaken similar processes for each of the other Projects. See Gowell Decl. ¶¶ 31-39 (process

 to obtain IHAs for Ocean Wind I), ¶¶ 40-43 (IHAs for Ocean Wind II), ¶¶ 44-51 (IHAs for Sunrise

 Wind), ¶¶ 57-61 (IHAs for Skipjack Wind), ¶¶ 52-56 (IHA for Revolution Wind), ¶¶ 62-63 (IHA

 for Lease 0500).

        Plaintiffs have also challenged two pending ITRs that the Federal Defendants have not yet

 finalized. Compl. ¶¶ 28, 40, Ex. A at 9; see supra (Table 1). These two pending ITRs and

 associated LOAs will be necessary for the construction of Ocean Wind I and Sunrise Wind once

 issued with respect to each Project. Gowell Decl. ¶ 8. These pending ITRs are not final agency

 action and thus are not subject to judicial review under the Administrative Procedure Act. See 5

 U.S.C. § 704.

 III.   ARGUMENT

        A.       Ørsted Is Entitled to Intervention as of Right

        Ørsted is entitled to intervention as of right in this action under Federal Rule of Civil

 Procedure 24(a)(2).7 To intervene as of right, a movant must demonstrate that: (1) the motion to



 7
   “On timely motion, the court must permit anyone to intervene who . . . claims an interest relating
 to the property or transaction that is the subject of the action, and is so situated that disposing of
 the action may as a practical matter impair or impede the movant’s ability to protect its interest,


                                                   8
Case 3:23-cv-01886-ZNQ-JBD Document 9-1 Filed 04/21/23 Page 15 of 26 PageID: 165




 intervene is timely; (2) it has a sufficient interest in the litigation; (3) the interest may be affected

 or impaired as a practical matter by the disposition of the action; and (4) the interest is not

 adequately represented by an existing party in the litigation. See Pennsylvania v. President United

 States of Am., 888 F.3d 52, 57 (3d Cir. 2018). Courts “‘liberally construe[]’” Rule 24(a) ‘in favor

 of intervention.’” ACR Energy Partners, LLC v. Polo N. Country Club, Inc., 309 F.R.D. 191, 192

 (D.N.J. 2015) (quoting N.L.R.B. v. Frazier, 144 F.R.D. 650, 655 (D.N.J. 1992)).

         Ørsted satisfies all requirements for intervention as of right, as set forth infra Section

 III.A.1-4. Courts in this district regularly grant intervention as of right in litigation challenging

 government agency approvals and other property interests of the intervenor. See, e.g., Chester

 Water Auth. v. Susquehanna River Basin Comm’n, No. 1:14-CV-1076, 2014 WL 3908186, at *5

 (M.D. Pa. Aug. 11, 2014) (granting intervention to electric cooperative in case challenging

 approvals issued to it by water authority); Am. Farm Bureau Fed’n v. EPA, 278 F.R.D. 98, 112

 (M.D. Pa. 2011) (granting intervention to wastewater utility associations in case challenging

 discharge limitation underpinning U.S. Environmental Protection Agency (“EPA”) authorizations

 issued to associations’ members); PPL Energyplus, LLC v. Solomon, Civ. A. No. 11-745 (PGS),

 2011 WL 13128622, at *2 (D.N.J. July 19, 2011) (granting intervention where movant is “active

 developer” and outcome of litigation would jeopardize movant’s business); Delaware Riverkeeper

 Network v. U.S. Army Corps of Eng’rs, Civ. A. No. 09-5889 (JAP), 2010 WL 11566064, at *1

 (D.N.J. Jan. 21, 2010) (granting intervention where movant has contractual rights with regard to

 challenged project).

                 1.      Ørsted’s Motion Is Timely

         To determine whether intervention is timely, the Third Circuit considers three factors: “(1)



 unless existing parties adequately represent that interest.” Fed. R. Civ. P. 24(a)(2).


                                                    9
Case 3:23-cv-01886-ZNQ-JBD Document 9-1 Filed 04/21/23 Page 16 of 26 PageID: 166




 the stage of the proceeding; (2) the prejudice that delay may cause the parties; and (3) the reason

 for the delay.” Mountain Top Condo. Ass’n v. Dave Stabbert Master Builder, Inc., 72 F.3d 361,

 369 (3d Cir. 1995). Ørsted has filed this Motion 17 days after Plaintiffs filed their Complaint, only

 eight days after Federal Defendants were served, and before any responsive pleadings have been

 filed. Intervention will not cause delay, and no party will be in any way prejudiced by Ørsted’s

 intervention at this earliest possible stage in the proceedings. Therefore, Ørsted’s Motion is timely.

 See id. at 370 (application timely when filed 37 days after intervenors learned that their interests

 were in jeopardy); see also Michaels Stores, Inc. v. Castle Ridge Plaza Assocs., 6 F. Supp. 2d 360,

 364 (D.N.J. 1998) (application timely when filed less than two months after start of proceedings);

 Chester Water Auth., 2014 WL 3908186, at *2 (application timely when filed within one week of

 filing of amended complaint); Am. Farm Bureau Fed’n, 278 F.R.D. at 104 (applications timely

 when filed less than three months after filing of amended complaint and where “lawsuit has not

 progressed to any proceeding of substance on the merits”).

                2.      Ørsted Has Multiple Significantly Protectable and Substantial
                        Interests in the ITAs that Are the Subject of This Action

        To satisfy the second part of the Rule 24(a)(2) test, the movant must show that it has a

 “significantly protectable” interest in the subject of the litigation. Donaldson v. United States, 400

 U.S. 517, 531 (1971). The Third Circuit has interpreted this phrase to mean “a cognizable legal

 interest” that is “specific to [it], is capable of definition, and will be directly affected in a

 substantially concrete fashion by the relief sought.” Pennsylvania, 888 F.3d at 58 (citation

 omitted).8



 8
   Intervenors are not required to demonstrate standing when intervening on the side of defendants.
 Pennsylvania v. President United States of Am., 888 F.3d. 52, 57 n.2 (3d Cir. 2018) (“Because the
 [intervenors] moved to intervene as defendants and seek the same relief as the federal government,
 they need not demonstrate Article III standing.”). Nonetheless, Ørsted has Article III standing


                                                  10
Case 3:23-cv-01886-ZNQ-JBD Document 9-1 Filed 04/21/23 Page 17 of 26 PageID: 167




         Ørsted has multiple substantial interests in the challenged federal approvals, which are the

 subject of this action. A potential intervenor who shows that a case may implicate its interest in a

 government agency permit, approval, or authorization demonstrates that it has a “significantly

 protectable” interest.   See, e.g., Chester Water Auth., 2014 WL 3908186, at *2-3 (electric

 cooperative had “legally protectable interest” in approval it received from water resources agency,

 where approval was the subject matter of the litigation, intervenor “clearly has an important

 interest in retaining and enforcing the benefits of the Approval as a whole”, and the electric

 cooperative “relies on the terms of the . . . Approval in operating its electricity generation

 facilities”); Am. Farm Bureau Fed’n, 278 F.R.D. at 104-07 (wastewater utility associations with

 members subject to limits imposed by EPA total maximum daily load limitation demonstrated

 “protectable interest sufficiently related to the subject of th[e] action”); Sierra Club v. E.P.A., 995

 F.2d 1478, 1482-84 (9th Cir. 1993) (owner of EPA water quality permit had “legally protected

 interest” in suit challenging its validity that fell “squarely in the class of interests traditionally

 protected by law”), abrogated by Wilderness Soc’y v. U.S. Forest Serv., 630 F.3d 1173 (9th Cir.

 2011); Hardin v. Jackson, 600 F. Supp. 2d 13, 14 (D.D.C. 2009) (holder of EPA pesticide approval

 entitled to intervene under Rule 24(a)(2) to protect interests where it “applied for [the]

 registrations, submitted the data in support of them, and worked with [EPA] to secure and maintain

 the registrations.”).

         Here, Ørsted has multiple significantly protectable interests in each of the ITAs for its

 Projects that Plaintiffs now ask the Court to set aside. ITAs are required for offshore wind

 development to address the marine site characterization surveys and construction activities that



 because it would suffer concrete and particularized injury to its interests in the federal approvals
 and its investments in obtaining them and made in reliance on them, see infra Section III.A.3, were
 the Court to rule in Plaintiffs’ favor.


                                                   11
Case 3:23-cv-01886-ZNQ-JBD Document 9-1 Filed 04/21/23 Page 18 of 26 PageID: 168




 could potentially result in incidental “harassment” of marine mammals in project site areas during

 such activities. Gowell Decl. ¶ 7. Each of the IHAs for the South Fork Wind, Ocean Wind I,

 Ocean Wind II, Sunrise Wind, Revolution Wind, Skipjack Wind, and Lease 0500 Projects required

 developing substantial scientific and technical information by Ørsted at great cost and investment

 of other resources. Id. ¶¶ 20-24 (discussing efforts to obtain South Fork Wind ITA as example of

 type of extensive application and approval process involved); see supra Section II.A (Table 1

 showing challenged ITAs and Projects implicated).

        ITAs can authorize pile-driving activities, high-resolution surveys, and in-water

 construction activities and vessel operations. Gowell Decl. ¶ 23. The South Fork Wind IHA, as

 an example, does so and contains 27 pages of numerous conditions, mitigation measures, and

 monitoring and reporting requirements protective of marine mammals. Id. For each IHA NMFS

 has issued to the Projects, NMFS has found that only small or negligible numbers of marine

 mammals would be affected by the authorized activities. Id. ¶ 6. For example, for South Fork

 Wind, NMFS found, based on “the planned activity (including the required mitigation and

 monitoring measures) . . . small numbers of marine mammals will be taken relative to the

 population size of all affected species or stocks.” Id. ¶ 23. The South Fork Wind Project has been

 in development for over nine years, and construction is already underway. Id. ¶¶ 9, 24. Offshore

 seabed preparation and cable installation are ongoing and largely complete. Id. And installation

 of turbine foundations will begin in June, with piling activities and mitigation measures protective

 of marine mammals to be conducted as authorized in the IHA. Id. ¶¶ 9, 24. The IHA is needed

 to construct the Project. See id. ¶ 23-24. Similarly, for the pending ITRs and LOAs Ørsted has

 sought in connection with the Ocean Wind I and Sunrise Wind Projects, in each case, these ITAs

 are critical for many aspects of oceanographic surveys and future construction, and the Projects




                                                 12
Case 3:23-cv-01886-ZNQ-JBD Document 9-1 Filed 04/21/23 Page 19 of 26 PageID: 169




 cannot be constructed without them. Id. ¶¶ 36-38, 48-50. Overall, Ørsted and its partners have

 invested many years and extensive resources in obtaining and otherwise seeking the ITAs, which

 are critically necessary to complete each Project’s construction and operation. See id. ¶ 13.

         Other federal district courts have granted Ørsted intervention of right, given Ørsted’s

 significantly protectable interest in litigation challenging Project approvals. See Memorandum of

 Law in Support of Motion to Intervene, Mahoney v. U.S. Dep’t of the Interior, No. 2:22-cv-01305-

 FB-ST, (E.D.N.Y. Mar. 11, 2022), ECF No. 15-1 (see Section III.A.2); see id. at ECF No. 16

 (order granting intervention) (E.D.N.Y. Mar. 14, 2022); Order, Kinsella v. BOEM, No. 1:22-cv-

 02147-JMC, (D.D.C. Nov. 7, 2022), ECF No. 43 (granting motion to intervene). Accordingly,

 Ørsted satisfies the interest requirement of Rule 24(a)(2).

                 3.      Without Intervention, Disposition of the Action Would Impair and
                         Impede Ørsted’s Ability to Protect Its Interests

         To satisfy the third part of the Rule 24(a)(2) test, the movant need only show that an

 unfavorable disposition of the action “may as a practical matter impair or impede” its ability to

 protect its interest. Fed. R. Civ. P. 24(a)(2). The movant “must demonstrate that there is a tangible

 threat to a legally cognizable interest to have the right to intervene[,]” but in doing so need only

 show that its interest “might become affected or impaired, as a practical matter, by the disposition

 of the action in [its] absence.” Mountain Top Condo. Ass’n, 72 F.3d at 366, 368 (citation omitted).

         Where, as here, a movant shows that disposition of a case could affect its interest in a

 government permit, approval, or authorization regulating its activities, the movant clearly

 demonstrates that a decision in its absence could impair its ability to protect that interest. See, e.g.,

 Chester Water Auth., 2014 WL 3908186, at *3-4 (court determined that “it is entirely possible that

 all or parts of the Approval will be altered as a result of the litigation or that [the intervenor] will

 face a delay in operations . . . [t]herefore, the court finds that [intervenor] has satisfied its burden



                                                    13
Case 3:23-cv-01886-ZNQ-JBD Document 9-1 Filed 04/21/23 Page 20 of 26 PageID: 170




 of showing that its interest may be impaired or affected by the court’s disposition of this action.”);

 Am. Farm Bureau Fed’n, 278 F.R.D. at 107-08 (intervenor wastewater utility associations

 “satisfied their burden of showing that their interests may be impaired or affected by the practical

 consequences” if court were to grant plaintiffs’ request to vacate EPA pollutant total maximum

 daily load limitation, potentially shifting compliance burden to intervenors); Nat. Res. Def. Council

 v. EPA, 99 F.R.D. 607, 609 (D.D.C. 1983) (concluding intervenors’ interests would be “practically

 impaired” given mere “possibility” of court setting aside preliminary EPA decisions relating to

 intervenors’ products).

        Here, Plaintiffs ask this Court, among other things, to enter an order setting aside each of

 the ITAs on which Ørsted’s Projects depend. Compl. at 60; see supra Section II.A (Table 1).

 Thus, Plaintiffs’ action directly threatens the validity of the Projects’ approvals, see supra Section

 II.A, and Plaintiffs seek relief that, if granted, would impair Ørsted’s ability to proceed as planned

 with construction and operation of the Projects. If the Court were to set aside the IHAs or prevent

 the issuance of the ITRs and LOAs that the Projects depend on, Ørsted and its partners could suffer

 significant financial losses. Gowell Decl. ¶ 65. Without the challenged authorizations, the Projects

 would face serious delay, jeopardizing existing investments of the equivalent of decades of effort

 collectively and billions of dollars in costs relating to planning, engineering, field work, technical

 analysis, permitting, and contracting by Ørsted and its partners. Id. Indeed, if the South Fork

 Wind IHA alone is delayed or set aside, Ørsted and its partners could lose in excess of $1 billion.

 Id. ¶ 64. If the Project is delayed in achieving Commercial Operation under the Long Island Power

 Authority (“LIPA”) PPA, it may be required to pay LIPA liquidated damages of $26,400 per day

 for each day of the shortfall up to a maximum of 365 days of delay, which could amount to as

 much as $9.6 million in penalties. Id. ¶ 28. If the Project fails to achieve Commercial Operation




                                                  14
Case 3:23-cv-01886-ZNQ-JBD Document 9-1 Filed 04/21/23 Page 21 of 26 PageID: 171




 within 365 days of the PPA target date, LIPA could terminate the PPA, seek additional liquidated

 damages in the amount of the Project’s security, and South Fork Wind could lose its entire

 investment, as well as all future profits. Id. ¶ 30.

        Ørsted’s intervention in this action is thus necessary to protect its significant interests in

 the challenged approvals authorizing the Projects. Ørsted has been granted intervention as of right

 on this ground in other federal district court cases challenging Project approvals. See Mahoney v.

 U.S. Dep’t of the Interior, No. 2:22-cv-01305-FB-ST, (E.D.N.Y. Mar. 14, 2022), ECF No. 16;

 Kinsella v. BOEM, No. 1:22-cv-02147-JMC, (D.D.C. Nov. 7, 2022), ECF No. 43. The Court

 should likewise grant Ørsted’s Motion to Intervene as of right in this case.

                4.      Existing Parties Will Not Adequately Represent Ørsted’s Interests

        To satisfy the fourth part of the Rule 24(a)(2) test, the movant must establish that its

 interests are not adequately represented by existing parties. This requirement “is satisfied if the

 applicant shows that representation of his interest ‘may be’ inadequate; and the burden of making

 that showing should be treated as minimal.” Trbovich v. United Mine Workers of Am., 404 U.S.

 528, 538 n.10 (1972); accord Pennsylvania, 888 F.3d at 60. The burden on the movant is

 “comparatively light” where the government, as an existing party, must defend “numerous

 complex and conflicting interests” and where, as here, “there is no guarantee that the government

 will sufficiently attend to the [movant’s] specific interests[.]” Id. at 61 (citations omitted). The

 government’s “general interest” in seeing its decisions upheld “does not mean [the parties’]

 particular interests coincide so that representation by the agency alone is justified.” Am. Horse

 Prot. Ass’n, Inc. v. Veneman, 200 F.R.D. 153, 159 (D.D.C. 2001).

        In circumstances where a developer has invested substantial effort in obtaining numerous

 government approvals for multiple projects and a court setting aside the approvals could result in

 the delay or failure of any one or all of the projects, courts have recognized that the government


                                                   15
Case 3:23-cv-01886-ZNQ-JBD Document 9-1 Filed 04/21/23 Page 22 of 26 PageID: 172




 does not adequately represent the specific, narrower economic and other interests of the developer.

 See, e.g., Fund for Animals, Inc. v. Norton, 322 F.3d 728, 736-37 & n.9 (D.C. Cir. 2003) (collecting

 cases recognizing that “governmental entities do not adequately represent the interests of aspiring

 intervenors”); Chester Water Auth., 2014 WL 3908186, at *4-5 (granting intervention as of right

 to developer with unique business interests distinct from government’s interests); PPL Energyplus,

 LLC, 2011 WL 13128622, at *3 (same); Am. Farm Bureau Fed’n, 278 F.R.D. at 109-11

 (wastewater utility associations’ “specific economic interests” may conflict with EPA’s “broader

 interest of protecting the public welfare”); Hardin, 600 F. Supp. 2d at 16 (pesticide registrant’s

 “economic and proprietary interests” not shared by EPA regulators).

        Here, Federal Defendants do not share Ørsted’s specific interests in meeting its contractual

 obligations and protecting its extensive financial investments in the Projects. See supra Section

 III.A.3. Although Federal Defendants and Ørsted nominally share the objective of defending the

 ITAs authorizing the Projects’ construction and operation, the broad public interest that Federal

 Defendants are charged with defending is distinct from Ørsted’s more specific interests. See id.

 Federal Defendants may not be able or motivated to raise the same defenses as Ørsted, and

 Plaintiffs are seeking to impair those interests.       Thus, the existing parties are inadequate

 representatives of Ørsted’s interests in this case. Even if other developers seek to intervene in this

 action, such developers would have no insight into or interest in Ørsted’s distinct approval

 processes and separate factual administrative records for the Projects, and therefore also would not

 be able to adequately represent Ørsted’s interests.

        Here, too, Ørsted has been granted intervention on this ground as of right in other federal

 district court cases challenging Project approvals. See Mahoney v. U.S. Dep’t. of the Interior, No.

 2:22-cv-01305-FB-ST, (E.D.N.Y. Mar. 14, 2022), ECF No. 16; Kinsella v. BOEM, No. 1:22-cv-




                                                  16
Case 3:23-cv-01886-ZNQ-JBD Document 9-1 Filed 04/21/23 Page 23 of 26 PageID: 173




 02147-JMC, (D.D.C. Nov. 7, 2022), ECF No. 43. The Court should likewise grant Ørsted’s

 Motion to Intervene as of right in this case.

        Given the foregoing, Ørsted is entitled to intervene as of right in this matter pursuant to

 Federal Rule of Civil Procedure 24(a)(2).

        B.      In the Alternative, the Court Should Grant Permissive Intervention

        In the alternative, the Court should grant Ørsted permissive intervention because it has met

 the requirements of Rule 24(b), which permits intervention by anyone who “has a claim or defense

 that shares with the main action a common question of law or fact.” Fed. R. Civ. P. 24(b)(1)(B).

 In exercising its discretion, the Court “must consider whether the intervention will unduly delay

 or prejudice the adjudication of the original parties’ rights.” Fed. R. Civ. P. 24(b)(3).

        Ørsted meets the standard for permissive intervention under Rule 24(b). First, Ørsted’s

 defense of the challenged approvals will be determined on common facts and legal principles with

 the main action. Because Ørsted will raise defenses directly responsive to Plaintiffs’ claims, it

 necessarily will assert a claim or defense in common with the main action and satisfies the common

 question of law or fact requirement. Second, as explained above, see supra Section III.A.1, no

 existing party will be prejudiced by Ørsted’s intervention. Ørsted has moved to intervene less than

 three weeks after Plaintiffs filed their Complaint challenging the federal approvals, and only eight

 days after Federal Defendants were served. Intervention at this earliest stage of litigation will not

 delay the proceeding, and Ørsted is prepared to meet any schedule set by this Court.

        Permissive intervention is also appropriate because Ørsted’s participation in this case will

 significantly contribute to full development of the underlying factual issues in the suit. As the

 developer of the Projects, Ørsted was a key participant in all of the governmental approval

 processes implicated by Plaintiffs’ allegations of harm in this case, and is uniquely positioned to

 provide relevant information to the Court to address the merits and ramifications of Plaintiffs’


                                                  17
Case 3:23-cv-01886-ZNQ-JBD Document 9-1 Filed 04/21/23 Page 24 of 26 PageID: 174




 arguments. See supra Section II.A. As a result, Ørsted’s participation in this action as an

 intervenor will promote a fair and full adjudication of Plaintiffs’ claims.

        C.      Ørsted Should Be Permitted to File Its Answer by the Same Deadline as
                Federal Defendants

        Ørsted respectfully seeks leave to file its Answer or other responsive pleading pursuant to

 Federal Rule of Civil Procedure 24(c) by the same deadline as Federal Defendants, currently due

 on June 12, 2023, or three days after intervention is granted, whichever is later. Although a motion

 to intervene should generally “be accompanied by a pleading that sets out the claim or defense for

 which intervention is sought,” Fed. R. Civ. P. 24(c), courts typically permit a movant to intervene

 without filing a pleading at that time, as long as the motion sufficiently informs the court of the

 grounds for intervention. See, e.g., Conforti v. Hanlon, No. CV 20-8267 (ZNQ), 2023 WL

 2744020, at *3 (D.N.J. Mar. 31, 2023) (“Our courts, however, have not required strict compliance

 with Rule 24(c). Motions to intervene have been granted by courts within the Third Circuit despite

 a movant’s failure to adhere precisely to the requirements of Rule 24(c), where the purpose of

 intervening was sufficiently clear.”) (citing United States ex rel. Frank M. Sheesley Co. v. St. Paul

 Fire & Marine Ins. Co., 239 F.R.D. 404, 410-12 (W.D. Pa. 2006)); PPL Energyplus, LLC, 2011

 WL 13128622, at *3 (“[l]iberal construction” of Rule 24(c) pleading requirement “especially

 appropriate” where intervenor satisfies “policy behind Rule 24(c) of providing notice to the

 existing parties of the basis and nature of the intervener’s claim”) (quoting Pereira v. Foot Locker,

 Inc., No. 07-CV-2157, 2009 WL 4673865, at *5 (E.D. Pa. Dec. 7, 2009)); Phila. Recycling &

 Transfer Station, Inc. v. City of Philadelphia, No. 95-4597, 1995 WL 517644, at *3 (E.D. Pa. Aug.

 29, 1995) (same).

        Ørsted’s Motion clearly informs the Court and the parties of the nature and basis for its

 need to participate in this case, such that the Court may adequately evaluate the issues and grant



                                                  18
Case 3:23-cv-01886-ZNQ-JBD Document 9-1 Filed 04/21/23 Page 25 of 26 PageID: 175




 Ørsted intervention without a corresponding pleading. See PPL Energyplus, LLC, 2011 WL

 13128622, at *3. Deferring Ørsted’s recitation of defenses in an Answer to align with Federal

 Defendants’ deadlines will further judicial economy by not prematurely requiring Ørsted to file

 responsive pleadings (possibly including any dispositive motions under Federal Rule of Civil

 Procedure 12) until Federal Defendants are also required to file. See, e.g., Order, Kinsella v.

 BOEM, No, 1:22-cv-02147 (D.D.C. Nov. 7, 2022), ECF No. 43 (granting South Fork Wind

 intervention and ordering it to file its Answer or other responsive pleading under Rule 24(c) on

 same date as federal defendants); Order, Am. Soybean Ass’n v. EPA, No. 1:20-cv-03190 (D.D.C.

 Nov. 13, 2020), ECF No. 20 (granting motion to intervene and to defer filing responsive pleading

 under Rule 24(c) to same date as federal defendant). Granting this request will not cause any delay

 in this litigation, as Federal Defendants have not yet filed their own responsive pleading.

 IV.    CONCLUSION

        For the foregoing reasons, Ørsted respectfully requests that this Court grant its Motion to

 Intervene as a matter of right pursuant to Rule 24(a)(2) or, in the alternative, that the Court grant

 permissive intervention pursuant to Rule 24(b)(1)(B), and that Ørsted be permitted to file its

 responsive pleading under Rule 24(c) on the same date as Federal Defendants’ deadline for

 responding to Plaintiffs’ Complaint or three days after intervention is granted, whichever is later.



 Dated: April 21, 2023                         Respectfully submitted,
        New York, New York
                                               /s/ Kegan A. Brown
                                               Kegan A. Brown (NJ Bar No. 015482007)
                                               LATHAM & WATKINS LLP
                                               1271 Avenue of the Americas
                                               New York, NY 10020
                                               Tel.: (212) 906-1200
                                               Email: kegan.brown@lw.com




                                                  19
Case 3:23-cv-01886-ZNQ-JBD Document 9-1 Filed 04/21/23 Page 26 of 26 PageID: 176




                                     Janice M. Schneider (pro hac vice pending)
                                     Stacey L. VanBelleghem (pro hac vice pending)
                                     LATHAM & WATKINS LLP
                                     555 Eleventh Street NW, Suite 1000
                                     Washington, D.C. 20004
                                     Tel.: (202) 637-2200
                                     Email: janice.schneider@lw.com
                                     Email: stacey.vanbelleghem@lw.com

                                     Counsel for Proposed Intervenor-Defendant
                                     Orsted North America Inc.




                                       20
